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                                                                                                               U.S. BANKRUPTCY COURT
                                                                                                            NORTHERN DISTRICT OF TEXAS


                                                                                                                ENTERED
                                                                                                            TAWANA C. MARSHALL, CLERK
                                                                                                                 THE DATE OF ENTRY IS
                                                                                                               ON THE COURT'S DOCKET



The following constitutes the ruling of the court and has the force and effect therein described.



 Signed April 16, 2014
______________________________________________________________________



                                IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE NORTHERN DISTRICT OF TEXAS
                                             DALLAS DIVISION

                                                )
     In re                                      ) Chapter 15
                                                )
     MtGox Co., Ltd. (a/k/a MtGox KK)           ) Case No. 14-31229-sgj15
                                                )
                Debtor in a Foreign Proceeding. )
                                                )

                              ORDER GRANTING CONTINUANCE OF DEPOSITION

                 Upon the emergency motion of MtGox Co., Ltd., a/k/a MtGox KK (the “Debtor” or

     “MtGox”) [Dkt. No. 76] (the “Motion”), seeking continuance of the Bankruptcy Deposition1

     from April 17, 2014 to May 5, 2014; and upon the hearing on the Motion and the status

     conference held by this Court on April 16, 2014; and the Court having determined that given the

     recent developments in the Japan Proceeding, the relief requested in the Motion is in the best

     interests of the Debtor, its estate, its creditors, and other parties in interest; and it appearing that

     proper and adequate notice of the Motion has been given and that no other or further notice is



     1
         All capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Motion.



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 necessary; and upon the record herein; and after due deliberation thereon; and good and

 sufficient cause appearing therefor, it is hereby

        ORDERED, ADJUDGED AND DECREED that:

        1.      The Motion is GRANTED.

        2.      The Bankruptcy Deposition of Mr. Karpeles is hereby continued to a date that will

 be determined by this Court at a future hearing on or after April 24, 2014. .

        3.      This Court will hold a status conference (the “Status Conference”) on April 24,

 2014 at 9:30 a.m. or at such date and time shortly thereafter when Mr. Nobuaki Kobayashi can

 attend telephonically.

        4.      Any interested party may submit a letter brief on the issue of the scope of the

 automatic stay under Japanese bankruptcy law. The brief must be submitted with the Court by

 noon on the day immediately preceding the date of the Status Conference.

        5.      This Court will address the issue of the Debtor’s responses to written discovery by

 Gregory Greene and Joseph Lack, and by CoinLab, Inc. at the Status Conference.

        6.      Prior to the Status Conference, the parties shall meet and confer to develop a

 proposed schedule for matters in this Chapter 15 case.

        7.      All objections to the Motion not otherwise addressed herein are overruled.

                                    # # # END OF ORDER # # #




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 Prepared and submitted by:

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 Nobuaki Kobayashi, Provisional Administrator and
 Proposed Foreign Representative of MtGox Co., Ltd.,
 a/k/a MtGox KK




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